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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


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                                                     October 27, 2020
BY ECF
The Honorable Valerie E. Caproni
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Wendell Belle, S15 15 Cr. 537 (VEC)

Dear Judge Caproni:

        The Government respectfully submits this letter in advance of the resentencing of
defendant Wendell Belle a/k/a “Delly Dell,” a high-ranking, violent member of the “Young
Gunnaz” street gang in the Bronx (the “YGz”). As part of his involvement in the YGz gang, Belle
and several other YGz members stomped to death Moises Lora a/k/a “Noah,” a frail, 90-pound,
16-year-old member of a rival gang on April 16, 2012 –– a gruesome and brutal murder that Belle
instigated and played a leading role in perpetrating by stomping Lora in the head until Lora’s skull
was crushed in several places. To further the goals of the YGz gang, Belle also shot a rival gang
member near the Bronx Criminal Courthouse on November 26, 2013 in an attempt to murder this
rival, and Belle was one of several YGz members who participated in a gang assault of rival gang
member Nathaniel Fludd a/k/a “Juntao” at the Bureau of Prisons’ Metropolitan Detention Center
in Brooklyn (“MDC”) on February 19, 2016 while he was detained at the MDC pending trial in
this case, among other crimes.

        In accordance with his plea agreement with the Government, Belle admitted his
participation in murdering Lora in connection with his involvement in the YGz gang in the course
of pleading guilty to a two-count superseding criminal information, numbered S15 15 Cr. 537
(VEC), charging him with one count of carrying firearms during and in relation to his involvement
in the YGz racketeering conspiracy in violation of 18 U.S.C. § 924(c)(1)(A)(i) (“Count One”), and
one count of discharging a firearm during and in relation to an assault and attempted murder in aid
of Belle’s membership in the YGz gang (based on the shooting of a rival gang member that Belle
committed near the Bronx Criminal Courthouse and pleaded guilty in state court to attempted
murder) in violation of 18 U.S.C. §§ 924(c)(1)(A)(iii) and (c)(1(C)(i) (“Count Two”).

        At his original sentencing, the Government argued that Belle’s central role as a violent
leader of the YGz warranted a Guidelines sentence of 30 years’ imprisonment, as reflected in the
parties’ plea agreement. On August 2, 2017, the Court imposed a sentence of 60 months’
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imprisonment on Count One and a consecutive sentence of 324 months’ imprisonment on Count
Two.

        On February 19, 2020, the Second Circuit, following the Supreme Court’s decision in
United States v. Davis, 139 S. Ct. 2319 (2019), vacated Belle’s conviction on Count One and
remanded for resentencing on the sole remaining count, i.e., Count Two. Count Two’s statutory
maximum sentence is life imprisonment, and Belle’s racketeering activity underlying Count Two
encompasses the same conduct that provided the basis for the now-vacated Count One. In light of
Belle’s extreme violence, the Government contends that the reimposition of the same substantial
term of imprisonment is appropriate in this case.

                                       BACKGROUND

     A. Belle’s Murder Before Joining the YGz Gang

         Belle has been committing violent crimes since he was a juvenile, including a murder that
he committed as a young teenager. Specifically, on February 26, 2005, when Belle was 13 years
old, he stabbed Edwin Owusu-Hammond to death with a kitchen knife during an attempt by Belle
and a co-conspirator to rob Owusu-Hammond of his cellphone in front of his apartment building
in the Bronx. Owusu-Hammond, who was 15 years old, died in the lobby of his building, where
his mother found him. Belle was arrested at the age of 14 on or about May 16, 2006 and was
initially charged as an adult for the murder in Bronx County Supreme Court. On or about June 15,
2007, as a result of a plea agreement between Belle and the Bronx County District Attorney’s
Office, his murder case was transferred to Bronx County Family Court, where he was adjudicated
a juvenile delinquent for the murder, and was sentenced to the custody of New York’s Office of
Children and Family Services for a reformatory term of five years. Belle was released in or about
May 2010.

     B. Belle’s YGz-Related Offense Conduct

        Shortly after his release from custody for murdering Owusu-Hammond, Belle joined the
YGz gang in the summer of 2010, when Belle was about 18 years old. Belle quickly rose in the
ranks of the gang to hold senior positions in the sets of the YGz gang based in the River Park
Towers apartment complex (the “RPT” set of the YGz) and a housing development on 163rd Street
near Morris Avenue (the “63rd” set of the YGz) in the South Bronx, and he was also was given a
leading position in a YGz set further north in the Bronx known as the “Gucci Gunnaz” or “2Gz”
set of the YGz. To further the goals of the YGz gang, Belle engaged in violence and at least one
robbery of drugs that he and other YGz members liquidated through drug trafficking, and he was
one of the main protagonists in several of the acts of violence committed by the YGz gang that
resulted in murders, as described below. Moreover, according to documents which were seized
in February 2017 from two YGz members housed at the MDC –– Belle’s co-defendants, Donovan
Reynolds and Rascarmi Gallimore –– Belle was ranked in the second highest of six tiers of
members of the YGz gang detained at the MDC. These documents seized from Reynolds and

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Gallimore appear to record code words for YGz members housed at the MDC to use in
communications with each other and others outside the MDC, and rank such YGz affiliated MDC
inmates within the overall YGz gang. These documents list Belle (by his alias “Delly Dell”) as
one of the top seven YGz members currently housed at the MDC, and one of five YGz members
classified as “Top Spenders,” which the documents define to mean “overseers” within the YGz
gang (the second highest ranking below “Show Stoppers,” which the documents define to mean
“Head Gunnaz in Charge”). According to these documents, Belle has been ranked higher in the
gang than his co-defendant William Bracy a/k/a “Rell,” a YGz member who participated in several
acts of violence for which Belle is now being sentenced, including the stomping murder of Moises
Lora.

        As part of his involvement in the YGz gang, Belle committed the following crimes (among
others):

         November 2010 Attempted Murder of CAC Member Felipe Blanding. On or about
November 22, 2010, Belle lured several members of a rival gang, referred to herein as the
“Courtlandt Avenue Crew” or “CAC,” to a location in the vicinity of 163rd Street between Teller
and Park Avenues in the Bronx, where several of Belle’s fellow YGz members planned to attack
the rival CAC members. About a city block from a public middle school, a shootout ensued
between several YGz members who participated in the attack, and several rival CAC members.
During the shootout, a total of three individuals were shot and injured: rival CAC member Felipe
Blanding, a/k/a “Hump,” who was nearly killed; YGz member William Bracy, a/k/a “Rel”; and
Bracy’s associate, Matthew Williams, a/k/a “Morris Mac,” a YGz member under Bracy in the 63rd
set of the YGz gang.

        January 2011 Attack on CAC Members Resulting in the Murder of Dykeem Etheridge. On
or about January 24, 2011, a large group of multiple YGz members –– including Belle and Kareem
Lanier –– went “mobbin” to rival CAC territory to attack rival CAC members. Upon arriving
there, the mob of YGz members encountered a group of rival CAC members standing in front of
a bodega on Courtlandt Avenue near 154th Street in the Bronx. The rival CAC members entered
the bodega to hide for their safety: one of them hid behind a butcher counter at the front of the
bodega, many of the other CAC members barricaded themselves in a storage closet in the rear of
the bodega, and one CAC member, Payne Brown, went to the rear of the bodega but was unable
to find a hinding spot. Several members of the YGz mob, including Lanier, acting in concert,
entered the bodega and assaulted and robbed rival CAC member Brown inside the bodega, while
several members of the YGz mob, including Belle, waited outside the bodega. Following this
assault and robbery, the mob of YGz members, including Belle and Lanier, walked about a city
block south on Courtlandt Avenue to 153rd Street, where the mob of YGz members encountered
an individual –– later identified as Dykeem Etheridge –– exiting a store on the corner of Courtlandt
Avenue and 153rd Street. Belle punched Etheridge, prompting a gang assault in which Belle and
several other members of the YGz mob, surrounded and punched, kicked, and assaulted Etheridge.
While Etheridge tried to flee from the assault, Lanier chased after Etheridge and began firing
gunshots at Etheridge, one of which struck Etheridge and caused his death.

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       April 2011 Attempted Murder of Rival CAC Members. In or about April 2011, Belle and
another YGz member not charged in this case (“CC-1”) went to rival CAC territory, where each
of them brandished a gun and attempted to fire gunshots at rival CAC members in the vicinity of
Courtlandt Avenue near 154th Street in the Bronx. Their guns did not fire.

        June 2011 Firearm Possession. On or about June 17, 2011, Belle was arrested for
possession of a firearm on a public city sidewalk on Third Avenue between 167th and 168th Streets
in the Bronx. For this offense, Belle pleaded guilty on or about October 14, 2011, in Bronx County
Supreme Court, to misdemeanor criminal possession of a weapon in the fourth degree, resulting
in a sentence of nine months of imprisonment. Belle was released on or about December 16, 2011.

       2011 Drug Robbery. In or about 2011, in the Bronx, Belle and fellow YGz member CC-
1 robbed a drug dealer of approximately 100 grams of crack cocaine and approximately 100 grams
of heroin. Following the robbery, Belle and CC-1 had a third YGz member sell the stolen crack
and heroin for them, and all three of them split the cash proceeds from the sale of the stolen crack
and heroin.

        April 2012 Stomping Murder of Rival CAC Member Moises Lora. On or about April 16,
2012, a group of YGz members –– including Belle, Bracy, Reddick, and a YGz member not
charged in this case (“CC-2”) –– were hanging out at a location in the Bronx, got drunk, and began
arguing amongst themselves about who among them had “put in the most work” for the YGz. At
Belle’s urging, this group of YGz members went to rival CAC territory to settle their dispute.
Upon arriving within the Melrose Houses in rival CAC territory, the members of this YGz group
saw rival CAC members Moises Lora a/k/a “Noah,” and Richmond Appiah a/k/a “Polo” in front
of one of the apartment buildings in the Melrose Houses. Belle, Bracy, Reddick, CC-2, and the
other members of the YGz group attacked Lora and Appiah in a courtyard by Lora’s apartment
building at 700 Morris Avenue in the Melrose Houses. During the attack, Belle and another YGz
attacker repeatedly stomped Lora in the head and crushed Lora’s skull in several places. Belle and
his confederates left Lora –– a frail, 90-pound, 16-year-old –– to die in a pool of his own blood.
Following the stomping, Belle and several of his confederates exited the Melrose Houses and
travelled south –– primarily via Morris Avenue –– to YGz territory in the Mott Haven Houses,
where Belle bragged about what they had just done to Lora to several fellow YGz members.

       November 16, 2013 Attempted Murder of Rival CAC members. On or about November
16, 2013, Belle carried a handgun to a location in rival CAC territory in the vicinity of 158th Street
and Park Avenue in the Bronx, where co-conspirators –– who were members of the “Murda Moore
Gangtas” gang (“MMG”), which was allied with the YGz gang –– fired several rounds from that
handgun and another firearm in an attempt to kill rival CAC members, resulting in a bystander
being shot and injured. Prior to the shooting, Belle met with other participants in the shooting in
an apartment in MMG territory to plan the shooting. During this planning meeting, Belle bragged
about his participation in stomping rival CAC member Lora to death over a year earlier.


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        November 26, 2013 Attempted Murder by the Bronx Criminal Courthouse. On or about
November 26, 2013, Belle fired gunshots at rival CAC members and associates while they were
driving in car near the Bronx County Criminal Courthouse in an attempt to kill them, and shot and
injured the CAC member who was driving the car. Belle committed this attack while acting in
concert with fellow YGz and allied gang members. Belle tried to flee from the scene of the
shooting, but was caught and arrested shortly afterwards. For this offense, Belle pleaded guilty on
or about June 17, 2015, in Bronx County Supreme Court, to attempted murder, resulting in a
sentence of nine years of imprisonment to be followed by five years of post-release supervision.
While Belle was in state prison serving that sentence, he was taken into federal custody pursuant
to a writ to answer the charges in this case.

        February 2016 Jail Assault of Rival CAC Member Nathaniel Fludd. On or about
February 19, 2016, while Belle and fellow YGz members William Bracy and Davaughn Brooks
were detained together in the same housing unit at the MDC pending trial in this case, they
assaulted a rival CAC member (namely, Nathaniel Fludd a/k/a “Juntao”) who was also detained in
their housing unit. In advance of the assault, Brooks had discussions with Belle and Bracy in
which they decided to carry out and planned the assault on Fludd at the MDC. For example, in
planning this attack on Fludd at the MDC, Belle and Bracy said that they did not trust Fludd and
were concerned that Fludd would attack them because of what Belle and Bracy had done to Fludd’s
fellow CAC member, Lora, and as a result, Belle, Bracy, and Brooks agreed to preemptively attack
Fludd.

     C. Belle’s Disciplinary History

       At the time of the original sentencing, on August 2, 2017, the Court noted that the defendant
accrued seven different disciplinary sanctions in the year-and-a-half that the defendant had been
in federal custody. Notably, on August 8, 2017, less than a week after he was sentenced, the
defendant was again sanctioned, for refusing to obey an order.




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                                           ARGUMENT

        In the Government’s view, a sentence consistent with that originally imposed by the Court
is reasonable and appropriate to serve the ends of justice and the goals of our criminal justice
system.

        The seriousness of Belle’s offense conduct cannot be overstated. As a high-ranking
member of the YGz gang, Belle goaded several other YGz members, including his co-defendants
Bracy and Reddick, into participating in the attack that resulted in them stomping to death Moises
Lora a/k/a “Noah,” a frail, 90-pound, 16-year-old member of a rival gang, in what is plainly the
most gruesome and brutal of the many murders by YGz gang members that have been charged in
this case. Belle played a leading role in the attack, in that he and another stomped Lora in the head
until Lora’s skull was crushed in several places. Unfortunately, this was not an isolated act of
violence. Rather, this was the second time that Belle took another’s life in a senseless killing, and
it was a part of a continuous and repeated pattern of violence by Belle that brought chaos and
destruction to several communities and their residents in the Bronx. For example, about a year-
and-a-half after the Lora murder, Belle shot and nearly executed a rival gang member near the
Bronx Criminal Courthouse, and after being taken into federal custody in this case, Belle
participated in a gang assault of another inmate in a federal jail. Belle’s violent conduct reflects a
flagrant disregard for the lives and safety of others and for the law.

        In addition to the seriousness of the offense, a significant sentence, consistent with the
Court’s prior judgment, also addresses the need to specifically deter Belle and protect the public
from further violence by Belle. Belle has a long and serious criminal history. Even after being
taken into federal custody in this case, Belle has continued this streak of violent behavior by
participating in a gang assault of another inmate in a federal jail. And, even after being sentenced
by this Court, Belle continued to refuse to obey orders in custody. In addition to deterring and
preventing Belle from resuming his dangerous behavior for a significant period of time and to
protect the public from him, a sentence consistent with the sentence previously imposed is
warranted to deter other similarly situated individuals from seeking to emulate Belle’s misconduct.




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                                         CONCLUSION

        For the reasons set forth above, the Government respectfully submits that the reimposition
of the same substantial term of imprisonment that the court initially imposed is appropriate in this
case.
                                                    Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     Acting United States Attorney

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